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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


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                                                 Chapter 11

   In re:                                        Case No.: 21-30589(MBK)

   LTL MANAGEMENT, LLC,                          Honorable Michael B. Kaplan

                                Debtor.



   LTL MANAGEMENT LLC,                            Adv. Pro. No. 21-03032 (MBK)


                                Plaintiff,

            v.


   THOSE PARTIES LISTED ON
   APPENDIX A TO COMPLAINT
   and JOHN AND JANE
   DOES 1-1000,

                                Defendants.


  MEMORANDUM OF LAW IN SUPPORT OF THE OFFICIAL COMMITTEE OF TALC
      CLAIMANTS’ MOTION FOR WITHDRAWAL OF THE REFERENCE OF
             ADVERSARY PROCEEDING NO. 21-03032 (MBK)
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          The Official Committee of Talc Claimants (the “Official Committee”) appointed in the

  above-referenced chapter 11 case (the “Bankruptcy Case”) of LTL Management LLC (the

  “Debtor”), hereby submits this memorandum of law in support of its motion (the “Motion”) for

  the entry of an Order of the United States District Court for the District of New Jersey (the

  “Court”) withdrawing the reference of the above-captioned adversary proceeding (the

  “Adversary Proceeding”) (Adv. Pro. No. 21-03032 (MBK)), pending in the United States

  Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”).1 In support of the

  Motion, the Official Committee respectfully states as follows:

                                       PRELIMINARY STATEMENT

          The Official Committee seeks withdrawal of the reference of only the Adversary

  Proceeding (i.e., not the entire Bankruptcy Case) pending with the Bankruptcy Court. The

  Adversary Proceeding was only recently filed and, shortly thereafter, transferred to this District.

  It involves a discrete and finite issue-namely, whether talcum powder-related litigation against

  non-debtor entities, including Johnson & Johnson (“J&J”), should be enjoined as a consequence

  of the Debtor’s bankruptcy filing. Resolution of the Adversary Proceeding requires no specialized

  bankruptcy knowledge.          Rather, knowledge of the facts and circumstances pertinent to the

  underlying talcum powder-related claims, the separate liabilities of Johnson & Johnson, affiliates

  and others, and the long history of talcum powder-related liabilities are key. As the presiding

  MDL Judge over the parallel proceeding, In Re: Johnson & Johnson Talcum Powder Products

  Marketing, Sales Practices and Products Litigation, MDL 2738 (MDL 2738) (the “MDL”), this

  Court has that knowledge. The Bankruptcy Court does not. As emphasized by the North Carolina

  Bankruptcy Court in transferring venue to this District, this Court is uniquely qualified to rule on


  1
          The Official Committee is a party to the adversary proceeding by virtue of a Stipulation and Order between
  the Debtor and the Official Committee entered on November 24, 2021. Adv. Pro. Dkt. No. 109.

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  issues respecting talcum powder-related claims, including causation, liability, and (if necessary)

  estimation. See Order Transferring Case to the District of New Jersey (the “Transfer Order”),

  at 5 [Dkt. No. 416] (observing that this Court (i) has “devoted significant time and resources over

  the past five years litigating” in the MDL; (ii) “has resolved important issues and gained an

  understanding of potential liability, causation, defenses, and settlement discussions”; and (iii)

  “presents a unique opportunity to help work towards an estimation of present and future claims

  that could take place in any future bankruptcy proceeding.”).

         The Adversary Proceeding was initiated by the Debtor, a non-operating “special purpose

  vehicle” (an “SPV”) created by J&J and its consumer products affiliate (“Old JJCI”) a mere two

  days before its October 14, 2021 bankruptcy filing. This was done by so-called “divisive merger”

  under Texas law to wall off talcum powder-related tort liability from the vast financial resources

  of J&J and its non-debtor affiliates. In short, Old JJCI was split into two: its operating assets and

  business were transferred to a “GoodCo” (which later became “New JJCI”), and its talcum

  powder-related liabilities were transferred to a “BadCo” (the Debtor), along with a handful of non-

  operating assets that were designed solely “to effectuate a bankruptcy filing and have no other

  business purpose.” See Transfer Order, at p. 9.

         Almost immediately, the Debtor reincorporated in North Carolina in an effort “to

  manufacture venue and . . . outsmart the purpose of the [Bankruptcy Code’s venue] statute.” See

  Id., at p. 10. Two days after forming, the Debtor, and only the Debtor (i.e., not J&J, Old JJCI, or

  any other affiliate or entity), filed for bankruptcy in the Western District of North Carolina in, as

  the North Carolina Bankruptcy Court noted, an apparent attempt to exploit the Fourth Circuit’s

  stringent standard for dismissal as a “bad faith” bankruptcy filing. See id., at pp. 9–10 (“[T]he

  Debtor’s actions indicate a preference to file bankruptcy in this district, likely due to the Fourth



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  Circuit’s two-prong dismissal standard and Judge Hodges’s estimation ruling in the Garlock

  case.”).

             Upon the Debtor’s bankruptcy filing, J&J and Old JJCI announced to the world – through

  securities filings, press releases, and notices filed on court dockets throughout the country – that

  the bankruptcy filing of its newly-created SPV effected a stay of all talcum powder-related

  litigation against J&J, Old JJCI, and hundreds of other non-debtor entities.2

             The Bankruptcy Code, of course, does not automatically stay litigation against non-debtors,

  and so, a few days after filing for bankruptcy, the Debtor filed an “emergency motion” seeking to

  immediately stay all talcum powder-related litigation against J&J, Old JJCI, and the other non-

  debtor entities. See Debtor’s Emergency Motion to Enforce the Automatic Stay Against Talc

  Claimants Who Seek to Pursue Their Claims Against the Debtor and Its Non-Debtor Affiliates

  [Dkt. No. 44]. The Debtor sought this sweeping relief through a procedurally deficient contested

  matter on effectively no notice to tort claimants – who, it bears observing, are the Debtor’s only

  creditors. See Transfer Order, at p. 2 (“The Debtor’s only liabilities are Old JJCI’s liabilities

  arising from talc-related claims.”).

             The Bankruptcy Court instructed the Debtor to correct its procedural error by filing an

  adversary proceeding seeking injunctive relief, which Adversary Proceeding is the subject of this

  withdrawal request.

             Given, among other things, the Debtor’s lack of any contacts with North Carolina and the

  extensive contacts with New Jersey (particularly, more than 36,000 pending talcum powder-related



  2
           Counsel for Johnson & Johnson advised this Court (as well as Special Master Joel Schneider) that the Debtor's
  bankruptcy filing automatically stayed these proceedings against all non-Debtor J&J Defendants in this MDL. See
  Exhibit 1 annexed hereto (October 15, 2021 email from Susan Sharko, Esq. to Chief Judge Freda Wolfson); see also
  Exhibit 2 (October 25, 2021 email from Susan Sharko, Esq. to Judge Joel Schneider). The same representation was
  made to courts throughout the country, including the United States Supreme Court. See Exhibit 3 (Notice of
  Bankruptcy Filing and Stay filed with the Supreme Court of the United States, No. 21-348).

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  ovarian cancer and mesothelioma cases), the North Carolina Bankruptcy Court sua sponte ordered

  the Debtor and related parties to explain why venue of the Bankruptcy Case should not be

  transferred. See Oct. 22, 2021 Hr’g Tr. at 216:17–218:12. The North Carolina Bankruptcy Court,

  thereafter, entered its order transferring venue to this District, emphasizing this Court’s familiarity

  with the underlying talcum powder-related claims through the 35,000 ovarian cancer cases pending

  in the MDL, and the fact that many of the 430 pending mesothelioma cases are in New Jersey state

  court.

           Before entering the transfer order, the North Carolina Bankruptcy Court issued a short-

  term, 60-day bridge injunction in the Adversary Proceeding to prevent the Bankruptcy Case from

  arriving “on fire.”3 That bridge injunction will expire on January 14, 2022, and the Debtor will

  assuredly seek an extension. The Debtor is, in sum, an insignificant legal entity set up solely for

  bankruptcy, not because it has any need for bankruptcy, but instead to serve as a passive conduit

  through which J&J – a conglomerate of monumental size, power, and wealth despite its well-

  known current and future talc liability – can seize the injunctive benefits of Chapter 11 without

  having to file for Chapter 11.

           Through this Motion, the Official Committee seeks entry of an Order withdrawing the

  reference with respect to the Adversary Proceeding. Each of the pertinent factors set out by the

  Third Circuit in In re Pruitt weighs strongly in favor or withdrawal:

           (i)      Economical Use of Resources. The underlying claims implicated by the Adversary

                    Proceeding are tort claims related to the use of J&J’s and Old JJCI’s talc products.




  3
            See Nov. 5, 2021 Hr’g Tr. at 143:12–18 (“But the point is that I think that, particularly given that I am moving
  the case, the last thing I want to do is send it with it on fire to the, to the recipient court. And so we need to, to slow
  down just for a little bit here and let a new judge take a look at this situation, read what we’ve written before, and then
  get the other constituencies on board before we go any further with that.”).


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                 The gravamen of the Adversary Proceeding concerns whether there are direct, non-

                 derivative claims against J&J, Old JJCI, and other non-debtors, and whether the

                 continued litigation of such claims would adversely affect the Debtor. Familiarity

                 with and understanding of the underlying claims (e.g., causation, liability, etc.) will

                 be critically important.4 Specialized bankruptcy knowledge will not. This Court

                 has gained considerable knowledge and experience with the facts and

                 circumstances having direct bearing on the underlying claims. This Court also

                 possesses significant factual context for the series of transactions J&J orchestrated

                 in October of 2021 that resulted in the creation of the Debtor two days before the

                 bankruptcy filing, and the assertion now that, as a result of those transactions,

                 continued litigation against J&J and the other non-debtor entities would impair the

                 Debtor’s “reorganization.” As a result, this Court is uniquely suited to adjudicate

                 the relief requested in the Adversary Proceeding. This is particularly true given the

                 impact of this Adversary Proceeding on the MDL. In view of this Court’s history

                 with the underlying claims, it should be responsible for determining the extent to

                 which these claims are stayed.

         (ii)    Uniformity in Administration. Withdrawing the reference will promote uniformity

                 in administration. First, analysis of the claims would be before a Court with

                 significant knowledge of the relevant factual background. Second, the underlying

                 claims cannot be resolved by the Bankruptcy Court should this case proceed. The

                 Official Committee intends to seek dismissal of the Bankruptcy Case, but if that

                 relief is not granted, under § 157(b)(5), the underlying claims would need to be


   4
         See Transfer Order, at pp. 5–6.


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                  resolved in the District Court. Withdrawing the reference would ensure that all

                  substantive analysis of the underlying claims would be conducted by one Court.

          (iii)   Expediting Bankruptcy Process. The District Court’s experience with the facts and

                  circumstances surrounding the underlying claims will expedite the Adversary

                  Proceeding. In contrast to the Bankruptcy Court, the District Court will not have

                  to “get up to speed” on the technical or complex aspects of the underlying claims.

                  Further, withdrawal of only the Adversary Proceeding will enable the balance of

                  the Bankruptcy Case to proceed in due course before the Bankruptcy Court, if not

                  more expeditiously without the need for the Bankruptcy Court to devote resources

                  to the Adversary Proceeding. The determination of the Adversary Proceeding will

                  have far-reaching consequences for the thousands of living victims, who do not

                  have the benefit of time, and the families of the deceased victims who have cases

                  pending in state and federal courts around the country. The benefit of the efficiency

                  gained from the District Court’s background cannot be overstated.

          (iv)    Forum Shopping and Confusion. The Official Committee is seeking withdrawal of

                  the reference because it believes that this Court is best positioned to analyze the

                  underlying claims and adjudicate the relief requested in the Adversary Proceeding.

                  The only forum shopping in this case was perpetrated by the Debtor when it

                  manufactured venue in North Carolina.

          The timing of this request further favors withdrawal. The Adversary Proceeding was

   initiated only weeks ago and transferred to this District just last week. No significant pre-trial

   motion practice, discovery, or hearings have occurred in the matter. The Bankruptcy Court has

   not invested meaningful time or resources into the dispute. And, given that the Debtor has been



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   litigating in the District Court over many of the underlying claims for years, it will not be

   prejudiced by withdrawal. Finally, although the North Carolina Bankruptcy Court included a

   finding that the Adversary Proceeding was a “core” proceeding, that finding, by its terms, is not

   binding on future courts and, in any event, “core” proceedings can nevertheless be withdrawn

   under circumstances such as this. See, e.g., Pittsburgh Corning Corp. v. Mingo (In re Pittsburgh

   Corning Corp.), 277 B.R. 74, 78 (Bankr. W.D. Pa. 2002) (noting that withdrawal of the reference

   of core bankruptcy proceedings is permissible “‘based on a finding by the Court that the

   withdrawal of reference is essential to preserve a higher interest’ (quoting Pan Am Corporation,

   et al. v. Delta Air Lines, Inc. (In re Pan Am Corp.), 163 B.R. 41, 43 (S.D.N.Y.1993))).

          Accordingly, the Official Committee respectfully requests that this Court enter an order

   withdrawing the reference for the Adversary Proceeding.

                                             BACKGROUND

      A. J&J Resorts To Structuring As “Liability Management”.

          The Debtor was created only days before the commencement of its Bankruptcy Case

   through a restructuring under Texas law referred to as a “divisive merger.” On October 12, 2021,

   the Debtor’s predecessor, Johnson & Johnson Consumer, Inc. (Old JJCI), converted from a New

   Jersey entity into a Texas limited liability company. Then, through the use of Texas’s divisive

   merger statute, Old JJCI ceased to exist, splitting into two successor entities and allocated its assets

   to one (GoodCo) and liabilities to the other (BadCo, or, in this case, the Debtor). Because Texas

   law requires GoodCo to remain secondarily liable on BadCo’s liabilities (a fact that would have

   defeated, in part, the purpose of the divisive merger), J&J took the further step of merging GoodCo

   into a New Jersey corporation, New JJCI, which is now the Debtor’s immediate parent company.

   See Declaration of John K. Kim in Support of First Day Pleadings (the “First Day Declaration”),

   at ¶¶ 19, 23 [Dkt. No. 5]. Following the divisive merger, the Debtor was re-domiciled in North

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   Carolina in an effort to manufacture jurisdiction in North Carolina and avail itself of the Fourth

   Circuit’s heightened standard for “bad faith” dismissals. See Transfer Order, at pp. 9–10.

          As a result of the divisive merger, the Debtor received all of Old JJCI’s talcum powder-

   related liability along with certain non-operating assets befitting a passive SPV – a royalty stream,

   a $6 million bank deposit, and a limited indemnity right from J&J and Old JJCI. Id. All other

   business, operating, and other assets and liabilities of Old JJCI were ultimately assigned to New

   JJCI. Id.

      B. Bankruptcy Filing And Adversary Proceeding.

          On October 14, 2021 (the “Petition Date”), the Debtor filed for relief under chapter 11 of

   title 11 of the United States Code (the “Bankruptcy Code”) with the United States Bankruptcy

   Court for the Western District of North Carolina. On October 18, 2021, the Debtor filed the

   Debtor’s Emergency Motion to Enforce the Automatic Stay against Talc Claimants Who Seek to

   Pursue Their Claims Against the Debtor and Non-Debtor Affiliates (the “Emergency Stay

   Motion”). [Dkt. No. 44]. The Emergency Stay Motion sought entry of interim and final orders

   applying the automatic stay of § 362(a) of the Bankruptcy Code to all talcum powder-related

   claims asserted against J&J, New JJCI, and “any other affiliate of the Debtor. . . .”

          Ultimately, the North Carolina Bankruptcy Court deemed the Emergency Stay Motion as

   a request for a temporary restraining order – which was denied – and instructed the Debtor to

   proceed by an adversary proceeding and to file a complaint seeking the injunctive relief requested

   in the Emergency Stay Motion.        On October 21, 2021, the Debtor filed a complaint (the

   “Complaint”) commencing the instant Adversary Proceeding, seeking to stay all talcum powder-

   related claims of the Defendants against 490 non-debtor affiliates, including J&J and New JJCI;

   approximately 140 retailers; and approximately 100 insurance companies (the “Alleged Protected



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   Parties”). The Debtor also sought, by way of the Complaint, a preliminary injunction and

   temporary restraining order in favor of the same parties.

          On the same day, the Debtor filed the Debtor’s Motion for an Order (I) Declaring that the

   Automatic Stay Applies to Certain Actions Against Non-debtors or (ii) Preliminarily Enjoining

   such Actions and (iii) Granting a Temporary Restraining Order Pending a Final Hearing (the

   “Preliminary Injunction Motion”), which sought the same relief requested in the Complaint on

   a preliminary basis. Adv. Pro. Dkt. No. 2. In the Preliminary Injunction Motion, the Debtor argued

   that extension of the automatic stay to the Alleged Protected Parties was appropriate because either

   (a) the Alleged Protected Parties share such an identity of interest with the Debtor that the Debtor

   is, in effect, the real-party defendant, or (b) the claims are property of the Debtor’s estate. Thus,

   such an action is expressly enjoined by § 362(a)(1) because it constitutes an “action or proceeding

   against the debtor” to recover a prepetition claim. See Preliminary Injunction Motion, at p. 5.

          After a two-day evidentiary hearing, the North Carolina Bankruptcy Court entered an order

   granting a short-term, 60-day preliminary injunction (“PI Order”). Adv. Pro. Dkt. No. 102. The

   record of the November 10, 2021 hearing is incorporated into the PI Order. Id. The Order is

   expressly “without prejudice” to the presiding court’s authority to modify or terminate the stay or

   injunction, including based on a later determination that claims against the Alleged Protected

   Parties are not claims “against the debtor” subject to the stay. Id. ¶¶ 5, E. As the North Carolina

   Bankruptcy Court explained on November 10, 2021, it did not want to bind the hands of any

   subsequent judge ruling on the preliminary injunction:

          So what I’m effectively doing is making a preliminary ruling that says that the stay
          is in effect on the talc-based claims as against not just the debtor and as against Old
          JJCI, but also as against J&J, the other protected parties, including the retailers.

          Now that’s painting with a very broad brush. We obviously have not had the
          occasion to go through 38,000 different complaints in, in cases and look at the facts
          and determine whether all of this is really, in effect, a claim that can be said against
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          the debtor. To that extent, I’m sure my successor will take the position that they
          have the right to go back and, and parties may move for exclusion from that. And
          if they can show that this is not related to the debtor and the debtor’s products and
          operations, then likely they can get out from under it.

   Nov. 10, 2021 Tr., 136: 4–18.

      C. Transfer Of Venue To District Of New Jersey.

          On November 16, 2021, the North Carolina Bankruptcy Court entered an order transferring

   the Debtor’s Case, including the Adversary Proceeding, to the District of New Jersey (the

   “Transfer Order”).     Dkt. No. 416. Among the key reasons cited by the North Carolina

   Bankruptcy Court for the transfer was the existence of the MDL, which has been pending before

   this Court for approximately five (5) years. Id. The North Carolina Bankruptcy Court noted that

   the Debtor’s only liabilities are talcum powder-related claims against Old JJCI. As the North

   Carolina Bankruptcy Court concluded, moving the Debtor’s Case to this District would best serve

   administration of the estate in part because of this District Court’s familiarity with many of the

   facts and circumstances germane to the underlying talcum powder-related claims.

                                            ARGUMENT

          The District Court has original jurisdiction over all bankruptcy cases and proceedings

   thereunder. 28 U.S.C. § 1334(a), (b). It also has discretion to refer bankruptcy proceedings to the

   district’s bankruptcy courts. 28 U.S.C. § 157(a); see e.g., Sullivan v. Maryland Casualty Co. (In

   re Ramex Int.’l., Inc.), 91 B.R. 313, 315 (E.D. Pa. 1988). Exercising this discretion, the District

   Court of New Jersey has “referred all proceedings arising under Title 11 to the bankruptcy court

   pursuant to a standing order of reference dated July 13, 1984.” Kohn v. Haymount Ltd. P'ship, LP

   (In re Int’l Benefits Grp., Inc.), Civil Action No. 06-2363(KSH), 2006 WL 2417297, at *1 (D.N.J.

   Aug. 21, 2006).




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            This Court nevertheless retains discretion to withdraw the reference of this Adversary

   Proceeding to this District’s Bankruptcy Court “for cause shown.” 28 U.S.C. § 157(d).5 Although

   “cause” for permissive withdrawal is not statutorily defined, the Third Circuit Court of Appeals in

   In re Pruitt enumerated certain non-exclusive factors for a court to consider. These include: (i)

   economical use of resources, (ii) uniformity of administration, (iii) expediting the bankruptcy

   process, and (iv) reducing forum shopping. See In re Pruitt, 910 F.2d 1160, 1168 (3d Cir. 1990)

   (citing Holland America Ins. Co. v. Succession of Roy, 777 F.2d 992, 999 (5th Cir. 1985)). Other

   factors considered by courts are the timing of the request, and whether the matter is a “core” or

   “non-core” proceeding within the meaning of § 157(b)-(c). See, e.g., Calascibetta v. Pension Fin.

   Servs., Inc. (In re U.S. Mortg. Corp.), Civil Action Nos. 2:11-cv-07222 (DMC)(JAD), 2:11–cv–

   07223 (DMC) (JAD), 2012 WL 1372284, at *2 (D.N.J. Apr. 19, 2012); Official Committee of

   Asbestos Claimants v. G-I Holdings, Inc. (In re G-I Holdings, Inc.), 295 B.R. 211, 216 (D.N.J.

   2003). Application of these factors strongly militates in favor of withdrawal.

       A. Withdrawal Is Appropriate Under The Pruitt Factors.

            Each of the Pruitt factors strongly favors withdrawal. First, withdrawing the reference

   would promote the economical use of resources. Adjudication of the Adversary Proceeding

   requires analysis of the underlying tort claims and determining whether such claims are direct,

   non-derivative claims, and whether the continued litigation of such claims would adversely impact

   the Debtor’s estate. See McCartney v. Integra Nat’l Bank N., 106 F.3d 506, 509 (3d Cir. 1997)

   (“As the case law demonstrates, courts have found ‘unusual circumstances’ where ‘there is such




   5
            28 U.S.C. § 157(d) provides, in relevant part, “[t]he district court may withdraw, in whole or in part, any case
   or proceeding referred under this section, on its own motion or on timely motion of any party, for cause shown.” 28
   U.S.C. § 157(d). While § 157(d) also provides for mandatory withdrawal where a proceeding requires “consideration
   of both title 11 and other laws of the United States regulating organizations or activities affecting interstate
   commerce,” the Official Committee is not seeking mandatory withdrawal by this Motion.

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   identity between the debtor and the third-party defendant that the debtor may be said to be the real

   party defendant and that a judgment against the third-party defendant will in effect be a judgment

   or finding against the debtor.’” (quoting A.H. Robins Co., Inc. v. Piccinin, 788 F.2d 994, 999 (4th

   Cir. 1986))). This analysis does not require specialized bankruptcy knowledge. Rather, it requires

   knowledge and familiarity with the underlying claims. This is particularly true because the

   standard is a high one, and will require close scrutiny of the underlying claims at issue, as well as

   the circumstances under which the alleged identity of interest between the Alleged Protected

   Parties and the Debtor arose. See e.g., Stanford v. Foamex L.P., Civil Action No. 07-4225, 2009

   WL 1033607, *2 (E.D. Pa. Apr. 15, 2009) (“unusual circumstances” did not permit automatic stay

   to extend to non-debtor entities because “plaintiff in this action alleges that each of the non-

   bankrupt defendants is independently liable”); see also Maritime Elec. Co., Inc. v. United Jersey

   Bank, 959 F.2d 1194, 1205 (3d Cir. 1991) (“[T]he automatic stay is not available to non-bankrupt

   co-defendants of a debtor even if they are in a similar legal or factual nexus with the debtor.”).

   The Bankruptcy Court does not have that knowledge. This Court already does. In that regard, this

   Court is in the best position to determine whether and to what extent the MDL, pending before this

   Court for the last five (5) years, as well as the thousands of other cases asserting similar claims,

   should be stayed. Accordingly, withdrawing the reference would create significant efficiencies

   for the estate and its creditors, and would also serve judicial economy. See NDEP Corp. v. Handl-

   It, Inc. (In re NDEP Corp.), 203 B.R. 905, 913 (D. Del. 1996) (noting that a court considers

   “whether withdrawal would serve judicial economy”). Further, withdrawing the reference is

   consistent with this Court’s view that coordination between the bankruptcy court and district court

   is “essential to ensuring efficient resolution of mass tort bankruptcies” like this one. G-I Holdings,

   295 B.R. at 216.



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          Second, withdrawing the reference will promote uniformity in administration. Withdrawal

   would ensure that all substantive analysis of the underlying claims would be before this Court,

   which possesses unique and significant knowledge of the relevant factual background. Further,

   withdrawal of the Adversary Proceeding will not adversely impact administration of the balance

   of the Bankruptcy Case, which can proceed in due course before the Bankruptcy Court. See U.S.

   Mortg. Corp., 2012 WL 1372284, at *3. While the Official Committee intends to seek dismissal

   of the Bankruptcy Case, if that relief is not granted, the underlying claims would otherwise need

   to be resolved in the District Court. See 28 U.S.C. § 157(b)(5) (providing that personal injury tort

   and wrongful death claims in a bankruptcy case must be tried either in in the district court in which

   the bankruptcy case is pending or in the district court in the district in which the claim arose, as

   determined by the district court in which the case is pending). Under these circumstances,

   uniformity would result from this Court taking direct control over any preliminary injunction

   determinations on what lawsuits should proceed and whether any party, including J&J and New

   JJCI should be accorded “protected status” as requested by the Debtor.

          Third, withdrawal of the reference will expedite the bankruptcy process. In contrast to the

   Bankruptcy Court, this Court is already well-versed with many of the facts implicated by many of

   the underlying claims. Indeed, courts often look to which court has the most familiarity with the

   underlying facts and issues to determine where the matter would be most expediently heard. See,

   e.g., SPIC v. Bernard L. Madoff Inv. Secs. LLC, 486 B.R. 579, 584 (S.D.N.Y. 2013) (noting that

   the District Court was “intimately familiar with the nature of” the underlying claims subject to an

   action to enforce the automatic stay, and was “therefore in a best position to analyze the Trustee’s

   Stay Application and efficiently render a decision that will not unnecessarily delay” the bankruptcy

   case or the action to be stayed). Here, that familiarity is with this Court. Because venue of the



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   Bankruptcy Case and the Adversary Proceeding were only recently transferred to the Bankruptcy

   Court, the Bankruptcy Court has not yet invested significant time or resources in connection with

   the Adversary Proceeding. Cf., e.g., Stanziale v. Bear Stearns, Inc. (In re Dwek), No. 07-11757

   (KCF), Civil Action No. 09-4833 (FLW), 2010 WL 2545174, at *4 (D.N.J. June 18, 2010) (noting

   that, in this particular case, economy favored the bankruptcy court, which had presided over the

   bankruptcy case since its inception, and declining to withdraw the reference).

          Fourth, withdrawing the reference to this Court does not implicate forum shopping

   concerns. Seeking to place a matter before a court that is “well-practiced” in the relevant claims

   to be considered is a valid basis to seek withdrawal of the reference. See Int’l Benefits Grp., 2006

   WL 2417297, at *4. Further, as noted, the efficiencies that would arise from having this Court

   handle discrete matters related to the underlying talcum powder-related claims was among the very

   reasons that this Case was transferred to this District. Withdrawing the reference is simply

   actualizing this goal.

      B. Other Considerations, On Balance, Weigh In Favor Of Withdrawal.

          Two other factors bear on the Court’s analysis. First, the timing of this request favors

   withdrawal. The Bankruptcy Case and Adversary Proceeding are only weeks old, and were only

   very recently transferred to this District. The Bankruptcy Court has not had any substantive

   hearings or conferences in the Adversary Proceeding, or made any substantive rulings. There has

   been no significant motion practice or discovery. In short, the Bankruptcy Court has not invested

   material time or resources with the Adversary Proceeding (or the Bankruptcy Case). For these

   reasons, this request is timely. Schlein v. Golub (In re Schlein), 188 B.R. 13, 14 (E.D. Pa. 1995)

   (“The purpose of the timeliness provision is to prevent unnecessary delay and stalling tactics.”);

   Troisio v. Poirier (In re U.S.A. Floral Products, Inc.), No. 01–1230 (MFW), ADV. 03–52514,



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   Civ.A. 05–00039–KAJ, 2005 WL 3657096, at *1 (D. Del. July 1, 2005) (timeliness is “measured

   by the stage of the proceedings in the Bankruptcy Court” (internal quotation marks omitted)).

            Finally, an additional factor considered by courts is whether the proceeding to be

   withdrawn is a “core” or “non-core”6 bankruptcy proceeding. See, e.g., G-I Holdings, 295 B.R. at

   216.7 The North Carolina Bankruptcy Court, in its PI Order, found this to be a “core” matter,

   although it cautioned that it did not intend to bind any future Court and expected future courts to

   take a fresh look at his rulings. Regardless, the “core”/“non-core” designation is not dispositive

   and withdrawal of the reference is appropriate here. See Karagjozi v. Bruck, Civ. No. 17-6305,

   2017 WL 4155104, at *3 (D.N.J. Sept. 20, 2017) (noting that core/non-core distinction is not

   dispositive); Pittsburgh Corning Corp., 277 B.R. at 78 (“Notwithstanding the strong presumption

   against withdrawal of the reference of core bankruptcy proceedings, the presumption can be

   overcome ‘based on a finding by the Court that the withdrawal of reference is essential to preserve

   a higher interest.’” (quoting Pan Am Corp., 163 B.R. at 43)).

            As noted, identifying whether and to what extent the Debtor seeks to enjoin direct claims

   against non-debtor entities will be critical to resolution of this Adversary Proceeding. Regardless


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             A proceeding is “core” “if it invokes a substantive right provided by Title 11 or if it is a proceeding that, by
   its nature, could arise only in the context of a bankruptcy case.” Torkelsen v. Maggio (In re Guild and Gallery Plus,
   Inc.), 72 F.3d 1171, 1178 (3d Cir.1996). A proceeding is “non-core” if it is “an action that does not depend upon the
   bankruptcy laws for its existence and which could proceed in a court that lacks federal bankruptcy jurisdiction.”
   Innovasystems, Inc. v. Proveris Scientific Corp., Civil Action No. 13–05077, 2013 WL 5539288, at *3 (D.N.J. Oct. 7,
   2013) (quoting United Orient Bank v. Green, 200 B.R. 296, 298 (S.D.N.Y. 1996)).

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             Some courts within this Circuit consider this to be a threshold issue in determining whether permissive
   withdrawal is appropriate. See, e.g., Dwek, 2010 WL 2545174, at *4. Other courts have concluded that it is a
   determination that must be made by the bankruptcy before a motion to withdraw the reference is ripe for review. See
   Katz v. Karagjozi (In re Kara Homes, Inc.), Bankruptcy No. 06-19626 (MBK), Adv. Proc. No. 08-2406 (MBK), Civil
   Action No. 09-1775 (MLC), 2009 WL 2223035, at *2 (D.N.J. July 22, 2009). The Third Circuit has not weighed in
   on this two-step approach, and other decisions within the Circuit cast doubt on whether it is necessary. See
   Innovasystems, 2013 WL 5539288, at *4 (“Nothing in the statute, however, precludes the district court, from which
   the entirety of the Bankruptcy Court's docket originates, from making the determination itself if the matter was not
   first presented to the bankruptcy judge.” (citations omitted)). Of relevance here, this approach may also cause needless
   delay when expediency is critical for affected claimants. Moreover, as noted above and explained further supra, the
   North Carolina Bankruptcy Court previously determined that this proceeding was Core. See PI Order ¶ D.


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   of whether a request to extend the stay under 11 U.S.C. § 362(a) or for an injunction under 11

   U.S.C. § 105 are core proceedings in a general sense, the bankruptcy court is without jurisdiction

   to seek to stay or enjoin such direct claims between two non-debtor entities. In In re Combustion

   Engineering, Inc., 391 F.3d 190 (3d Cir. 2004), the Third Circuit held that a § 105(a) injunction

   could not be applied to “independent non-derivative claims against non-debtor third parties,”

   because it “would improperly extend bankruptcy relief to non-debtors.” 391 F.3d at 234. Indeed,

   the Third Circuit has repeatedly held that “related to” bankruptcy jurisdiction is absent over direct

   claims against non-debtors that are not derivative of the debtor’s liability. See In re Federal–Mogul

   Global, Inc., 300 F.3d 368, 382 (3d Cir. 2002); Pacor, Inc. v. Higgins, 743 F.2d 984, 995 (3d Cir.

   1984), overruled on other grounds, Things Remembered, Inc. v. Petrarca, 516 U.S. 124 (1995). In

   other words, because direct claims against the Alleged Protected Parties may be outside the scope

   of the bankruptcy court’s authority altogether, that a stay or injunction is otherwise a core

   proceeding does not present a reason to decline to withdraw the reference in this instance.

          Moreover, the purpose of identifying whether a proceeding is core or non-core is, as with

   the Pruitt factors, a question of efficiency. In a non-core proceeding, the bankruptcy court must,

   absent consent, “submit proposed findings of fact and conclusions of law to the district court for

   de novo review and the entry of final judgment.” Drs. Assocs., Inc. v. Desai, No. Civ. Action No.

   10-575, 2010 WL 3326726, at *3 (D.N.J. Aug. 23, 2010).               Accordingly, having made a

   determination that a proceeding is non-core, courts often recognize the inherent inefficiency of

   sending the proceeding to the bankruptcy court only to face the possibility of later review, and

   elect to withdraw the reference. See, e.g., Ramex Int’l, 91 B.R. at 316 (noting that de novo review

   may require a second jury trial, which would be “cumbersome” and “time consuming”).

   Alternatively, if a proceeding is core, it may be returned to the bankruptcy court that would be



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   more familiar with the facts and issues. See, e.g., In re LightSquared Inc., No. 14 Civ. 8550(RMB),

   2014 WL 6386734, at *2 (S.D.N.Y. Nov. 10, 2014) (citing In re Recoton Corp., No. 04 Civ.

   2466(DLC), 2004 WL 1497570, at *4 (S.D.N.Y. July 1, 2004)).

          Here, however, as explained above, this Court is uniquely familiar with the facts and legal

   issues relevant to resolution of this Adversary Proceeding. In contrast, the Bankruptcy Court is

   new to the proceeding. The efficiency that would result from this Court hearing the Adversary

   Proceeding, and the benefits to claimants and the estate flowing from that efficiency, cuts in favor

   of withdrawing the reference.

                                            CONCLUSION

          For the foregoing reasons, the Official Committee respectfully requests that this Court

   grant the Motion and enter an order, substantially in the form annexed hereto, withdrawing the

   reference to the Bankruptcy Court of the above-captioned Adversary Proceeding, and granting

   such other and further relief as the Court deems just and proper.

   Dated: November 24, 2021

                                                   Respectfully submitted,


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